Case 1:13-cv-02394-WYD-MEH Document 26 Filed 02/24/14 USDC Colorado Page 1 of 8




                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF COLORADO
  Civil Action No. 1:13-cv-02394-WYD-MEH

  MALIBU MEDIA, LLC,

               Plaintiff,
  v.

  JEREMIAH BENSON,

       Defendant.
  _________________________________/


         PLAINTIFF’S PARTIALLY UNOPPOSED MOTION TO STRIKE DEFENDANT’S
                              AFFIRMATIVE DEFENSES

               Plaintiff, Malibu Media, LLC (“Plaintiff”), by and through undersigned counsel and

  pursuant to Fed. R. Civ. P. 12(f) hereby moves for the entry of an order striking

  Defendant Jeremiah Benson’s (“Defendant”) affirmative defenses, and files this

  memorandum in support:

         I.        INTRODUCTION

               Defendant’s First, Second, Fourth and Fifth Affirmative Defenses which plead

  respectively “unclean hands,” “one satisfaction rule,” “statutory bar,” and “invalidity”

  should be stricken. In short, these defenses cannot succeed under any circumstances.

  Defendant has consented to the Court entering an order striking the unclean hands and

  one satisfaction rule defenses.

         II.       LEGAL STANDARD

               Rule 12(f) permits the Court to “strike from a pleading an insufficient defense or

  any redundant, immaterial, impertinent, or scandalous matter.” “The purpose of Rule

  12(f) is to save the time and money that would be spent litigating issues that will not

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Case 1:13-cv-02394-WYD-MEH Document 26 Filed 02/24/14 USDC Colorado Page 2 of 8




  affect the outcome of the case.” Kimpton Hotel & Restaurant Group, LLC v. Monaco

  Inn, Inc., No. 07-cv-01514-WDM-BNB, 2008 WL 140488, at *1 (D. Colo. Jan. 11, 2008)

  (citing United States v. Shell Oil Co., 605 F. Supp. 1064, 1085 (D. Colo. 1985)). To

  strike an affirmative defense rests within the discretion of the trial court. Anderson v.

  Van Pelt, No. 09-cv- 00704-CMA-KMT, 2010 WL 5071998, at *1 (D. Colo. Dec. 7, 2010)

  (citing Vanderhurst v. Colo. Mountain Coll. Dist., 16 F. Supp. 2d 1297, 1303 (D. Colo.

  1998)). “An affirmative defense is insufficient if, as a matter of law, the defense cannot

  succeed under any circumstance.” Unger v. US West, Inc., 889 F. Supp. 419, 422 (D.

  Colo. 1995).

                               III.                                                       ARGUMENT

                                                             A. Defendant’s First Affirmative Defense “Unclean Hands” Should Be Stricken

                                                             Defendant’s first affirmative defense, unclean hands, should be stricken.1 This

  Court struck a strikingly similar affirmative defense in Malibu Media, LLC v. Ryder, 13-

  cv-00319-WYD-MEH, 2013 WL 4757266, * 3 (D. Col. 2013) and held: “In copyright

  actions, the doctrine of unclean hands is only applied ‘where the wrongful acts ‘in some

  measure affect the equitable relations between the parties in respect of something

  brought before the court for adjudication,” citing Mitchell Bros. Film Grp. v. Cinema Adult

  Theater, 602 F.2d 852, 863 (quoting Keystone Driller Co. v. Gen. Excavator Co., 290

  U.S. 240, 245 (1933)). Where asserted, unclean hands “must be pled with the specific

  elements required to establish the defense.” Cartel Asset Mgmt. v. Ocwen Fin. Corp.,

  No. 01–cv–01644–REB–CBS, 2010 WL 3522409, at *3 (D.Colo. Aug. 11, 2010) (citing


  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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   The defense states in its entirety “Plaintiff’s claims are barred in whole or in part by the
  doctrine of unclean hands as having violated public policy, and various rules of
  professional conduct in the prosecution and presentment of this case.”
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Case 1:13-cv-02394-WYD-MEH Document 26 Filed 02/24/14 USDC Colorado Page 3 of 8




  MPC Containment Sys ., Ltd. v. Moreland, No. 05 C 6973, 2008 WL 1775501, at *5

  (N.D. Ill. April 17, 2008)). These elements include a showing that the party seeking

  equitable relief is “(1) guilty of conduct involving fraud, deceit, unconscionability, or bad

  faith, (2) directly related to the matter at issue, (3) that injures the other party, and (4)

  affects the balance of equities between the litigants.” Id. (citing In re New Valley Corp.,

  181 F.3d 517, 523 (3d Cir.1999)).

                                                             This Court has further held that “[u]nclean hands…is an equitable defense that

  must be pled with the specific elements required to establish the defense,” Cartel Asset

  Mgmt. v. Ocwen Fin. Corp., 2010 WL 3522409, at *3 (D. Colo. 2010) (citation omitted),

  and thus a defendant’s pleading “must show that the party seeking equitable relief is (1)

  guilty of conduct involving fraud, deceit, unconscionability, or bad faith, (2) directly

  related to the matter at issue, (3) that injures the other party, and (4) affects the balance

  of equities between the litigants.” Id. (citations omitted).

                                                             Here, Defendant’s conclusory affirmative defenses clearly fall short of this Court’s

  pleading requirements. Accordingly, the first affirmative defense is insufficient as a

  matter of law and should be stricken. Defendant does not oppose the entry of an order

  striking this defense.

                                                             B. Defendant’s Second Affirmative Defense “The One Satisfaction Rule”2 Should
                                                                Be Stricken

                                                             This defense asserts that Plaintiff is barred from recovering based upon

  settlements and judgments in third party suits.                                                                                                                                                                                                             Significantly, Plaintiff has not been


  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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    Plaintiff’s claims for statutory damages, for each copyright at issue, are barred in
  whole or in part, to the extent that a statutory fee award has already been received by
  Malibu for that copyrighted work from settlement or judgments paid by other infringers
  who were involved in related infringements, via BitTorrent, of the same work or file.
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Case 1:13-cv-02394-WYD-MEH Document 26 Filed 02/24/14 USDC Colorado Page 4 of 8




  awarded any damages in this case. When faced with an identical issue, this “Court

  f[ound] this fact significant because 17 U.S.C. § 504(c)(1) provides that the copyright

  owner ‘may elect, at any time before final judgment is entered, to recover, instead of

  actual damages, an award of statutory damages for all infringements involved in the

  action ...’” Malibu Media v. Batz, 12-cv-01953-WYD-MEH, 2013 WL 21210412, *2 (D.

  Col. 2013). Accordingly, this Court rejected “Mr. Batz’s argument that Plaintiff’s alleged

  settlements with other defendants precludes recovery of statutory damages [because it]

  severely misreads the statute.”     Id.   Just like in Batz, “[b]ecause Plaintiff has not

  received any award . . . in this action, 17 U.S.C. § 504(c)(1) does not bar Plaintiff from

  pursuing its claim for statutory damages.” Id. Here, this defense should be stricken like

  it was in Batz. Finally, Defendant does not oppose an order striking this defense.

         C. Defendant’s Fourth Affirmative Defense “Statutory Bar” Should Be Stricken

         Defendant’s fourth affirmative defense erroneously asserts “Plaintiff’s claims are

  barred by Section § 230 of the Communications Decency Act and/or the Online

  Copyright Infringement Liability Limitation Act.” As it relates to the Communications

  Decency Act, this Court struck a striking similar affirmative defense in Malibu Media,

  LLC v. Laura Xiong, 1:13-cv-01525-WYD-MEH, CM/ECF 26 (D. Col. 2013):

         The Communication Decency Act (“CDA”), 47 U.S.C. § 230, immunizes
         ISPs and their subscribers from causes of actions stemming from the action
         of a third-party operator. Plaintiff argues that the Defendant’s reliance on the
         CDA is erroneous because it has no application in this case. The Court
         agrees. The immunity provided by the CDA does not extend to “any law
         pertaining to intellectual property.” 47 U.S.C. § 230(e)(2); Stevo Design, Inc.
         V. SBR Marketing, LTD., 919 F. Supp.2d 1112, 1125 (D. Nev. 2013); see
         also Atl. Recording Corp. v. Project Playlist, Inc., 603 F.Supp.2d 690, 703
         (S.D.N.Y. 2009) (“Section 230(c)(1) does not provide immunity for either
         federal or state intellectual property claims.”). Plaintiff’s copyright
         infringement claim pertains to intellectual property; thus, application of the



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Case 1:13-cv-02394-WYD-MEH Document 26 Filed 02/24/14 USDC Colorado Page 5 of 8




         CDA cannot, as a matter of law, succeed under any circumstances. See
         Unger, 889 F. Supp at 422.

         Just like it was in Xiong, the CDA defense should be stricken because it fails as a

  matter of law.

         This Court has not yet addressed the Online Copyright Infringement Liability

  Limitation Act defense. However, it was raised and stricken in the Bellwether case.

  There, a Defendant asserted he was “not liable to Plaintiff pursuant to the Online

  Copyright Infringement Liability Limitation Act,”‘ as set forth at 17 U.S.C. § 512. See

  Malibu Media, LLC v. Does 1, 12-2078, 2013 WL 1702549 (E.D. Pa. 2013). Judge

  Baylson held “Section 512 of the Digital Millennium Copyright Act, in turn, provides a

  limitation on liability to ‘service providers’ . . . .” Judge Baylson then noted “[t]he statute

  defines the term ‘service provider’ as either ‘an entity offering the transmission, routing,

  or providing of connections for digital online communications, between or among points

  specified by a user, of material of the user's choosing,’ or as ‘a provider of online

  services or network access, or the operator of facilities therefor.’ Id. § 512(k)(1).” After

  having considered the applicable statutory language, Judge Baylson considered

  Malibu’s argument that “the affirmative defense based on Section 512's safe-harbor

  provision should be stricken because it extends only to ‘service providers,’ which no

  Doe Defendant qualifies as under Section 512(k).” He concluded, “judging from the

  statutory text and the case law, Malibu is correct. [And] . . . no affirmative defense

  under Section 512 of the DMCA is available to Defendants as a matter of law.”

         D. Defendant’s Invalidity/Unenforceability Defense Should be Stricken

         As for its Fifth Affirmative Defense, Defendant pled “Plaintiff’s copyrights are

  invalid and/or unenforceable obscene and/or violate 18 U.S.C. § 2257.” This is really

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Case 1:13-cv-02394-WYD-MEH Document 26 Filed 02/24/14 USDC Colorado Page 6 of 8




  three defenses: (a) invalidity generally, (2) obscenity and (3) invalidity on the basis of a

  failure to comply with 18 U.S.C. § 2257. As for invalidity and unenforceability generally,

  this Court has held that “[t]he claim that Plaintiff’s copyrights are invalid [or

  unenforceable] is redundant and should be stricken.” Malibu v. Ryder, 13-cv-00319-

  WYD-MEH, 2013 WL 4757266, * 4 (D. Col. 2013) (“Defendant's attack the validity of

  Plaintiff's copyrights is effectively a denial of Plaintiff's prima facie case and is,

  therefore, not a proper affirmative defense. . . . Where a so-called ‘affirmative defense’

  does nothing more than rebut a plaintiff's claims directly, the defense should be

  stricken.)

                                                             As for 18 U.S.C. § 2257, it is a record keeping statute and not a legally

  cognizable basis upon which to deny a party the right to enforce its copyrights. To

  explain, The Copyright Act states that “[c]opyright protection subsists . . . in original

  works of authorship fixed in any tangible medium of expression, now known or later

  developed,                                                                                                            from                                                         which                                                            they   can   be       perceived,   reproduced,   or   otherwise

  communicated[.]”                                                                                                                                                           17 U.S.C. § 102(a).                                                                    The Copyright Act does not limit copyright

  protection to only those entities that are in compliance with federal record keeping

  statutes.

                                                             Entities and persons are required by federal law to maintain accurate records

  with respect to many different aspects of doing business. For example, the U.S. Equal

  Employment Opportunity Commission requires “that employers keep all personnel or

  employment records for one year.”3 The Internal Revenue Code states that “[e]very

  person liable for any tax imposed by this title, or for the collection thereof, shall keep


  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	   	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  	  
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              See http://www.eeoc.gov/employers/recordkeeping.cfm
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Case 1:13-cv-02394-WYD-MEH Document 26 Filed 02/24/14 USDC Colorado Page 7 of 8




  such records, render such statements, make such returns, and comply with such rules

  and regulations as the Secretary may from time to time prescribe.” 26 U.S.C. § 6001.

  18 U.S.C. § 2257 is just one of dozens if not scores of record keeping statutes. 18

  U.S.C. § 2257 does not mention the word “copyright” and the Copyright Act does not

  mention 18 U.S.C. § 2257.

                To require Plaintiff to comply with a record keeping statute prior to enforcing a

  copyright would violate the basic tenant that Courts “resist reading words or elements

  into a statute that do not appear on its face.” Bates v. United States, 522 U.S. 23, 29,

  118 S. Ct. 285, 290, 139 L. Ed. 2d 215 (1997).              See also e.g. Aronsen v. Crown

  Zellerbach, 662 F.2d 584, 590 (9th Cir. 1981) (“It is . . .[a] general principle of statutory

  construction that a court should not add language to an unambiguous statute. . . .”);

  United States v. Parise, 159 F.3d 790, 800 (3d Cir. 1998) (“Courts should not legislate

  by reading into the laws provisions not included by the legislature.”); Wheeler v.

  Pilgrim's Pride Corp., 591 F.3d 355, 374 (5th Cir. 2009) (“Under well-settled principles,

  courts must refrain from reading additional terms . . . into these sections.”); MORI

  Associates, Inc. v. United States, 102 Fed. Cl. 503, 539 (Fed. Cl. 2011) (“Echoing the

  Supreme Court, the Federal Circuit noted it “must presume that Congress says in [a]

  statute what it means and means in a statute what it says,” . . . and concluded that its

  “inquiry thus begins and ends with what [the statute] does (and does not) say.”).

               Thus, even if Plaintiff’s 2257 records are noncompliant – which they are not –

  Plaintiff’s copyrights are valid and enforceable. This defense is insufficient as a matter

  of law.

         IV.      CONCLUSION



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Case 1:13-cv-02394-WYD-MEH Document 26 Filed 02/24/14 USDC Colorado Page 8 of 8




         For each of the foregoing reasons, Defendant’s affirmative defenses should be

  stricken



  Dated: February 24, 2013



                                                     Respectfully submitted,

                                                     By: /s/Jason Kotzker
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                                                     Attorney for Plaintiff


              CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.1(A)

        Pursuant to D.C. Colo. L. Civ. R. 7.1(a), counsel for Plaintiff conferred with
  counsel for Defendant in an attempt to obtain concurrence with regard to the relief
  requested herein. Defendant agreed to an order striking his first and second affirmative
  defenses but did not agree to an order that would strike his fourth and fifth affirmative
  defenses.


                               CERTIFICATE OF SERVICE

         I hereby certify that on February 24, 2013, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF and that service was perfected on
  all counsel of record and interested parties through this system.

                                                     /s/ Jason Kotzker
                                                     Jason Kotzker




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